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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
____________________________________
GINA JORDAN                            :
1042 Old Bethlehem Road                :
Perkasie, PA 18944                     :    CIVIL ACTION
                                       :
              Plaintiff,               :    No. 19-13225
       v.                              :
                                       :
SUN COMMUNITIES, INC.                  :
27777 Franklin Road, Suite 200         :    JURY TRIAL DEMANDED
Southfield, MI 48034                   :
                                       :
              Defendant.               :
____________________________________:

                     FIRST AMENDED CIVIL ACTION COMPLAINT

       Plaintiff, by and through her undersigned counsel, hereby avers as follows:

                                       I. INTRODUCTION

       1.      This action has been initiated by Gina Jordan (hereinafter referred to as

“Plaintiff,” unless indicated otherwise) for violations of the Fair Labor Standards Act ("FLSA" -

29 U.S.C. 201, et. seq.) and applicable state law(s). Plaintiff asserts herein that she was not paid

wages or overtime compensation in accordance with applicable state and federal laws. As a

direct consequence of Defendant’s actions, Plaintiff seeks damages as set forth herein.

                                II. JURISDICTION AND VENUE

       2.      This Court, in accordance with 28 U.S.C. 1331, has jurisdiction over Plaintiff’s

claims because they arise under a federal law - the FLSA. There is supplemental jurisdiction

over Plaintiff’s state-law claims herein because they arise out of the same common nucleus of

operative facts as Plaintiff’s federal claim(s) set forth in this lawsuit. There would additionally be

diversity jurisdiction within this Court under 28 U.S.C. § 1332, as the Parties are residents and

citizens of different states.   Moreover, Plaintiff would be seeking in excess of $75,000.00
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through trial with unpaid wages, liquidated damages, attorney’s fees, and other entitlements

(exclusive of costs and interest).

        3.       This Court may properly maintain personal jurisdiction over Defendant because

Defendant’s contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.

Washington, 326 U.S. 310 (1945) and its progeny.

        4.       Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.

                                            III. PARTIES

        5.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        6.       Plaintiff is an adult individual, with an address as set forth in the caption.

        7.       Sun Communities Inc. (hereinafter “Defendant”) is a fully-integrated real estate

investment company, which acquires, operates, and develops manufactured home and RV

communities.

        8.       At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

                                 IV. FACTUAL BACKGROUND

        9.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




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        10.     In total, Plaintiff was employed with Defendant for approximately 7 years, from

in or about May of 2011 through in or about December of 2018.

        11.     Defendant, a public company, is an investor, operator, manager, and developer of

manufactured housing and recreational vehicle (“RV”) communities. Defendant publicly

represents that it operates in 31 states throughout the United States and Ontario, Canada. And it

further represents operating over 370 communities in more than 250 cities.

        12.     Plaintiff physically worked at an “all age RV resort,” affiliated with Cape May

KOA, based at 669 Route 9, Cape May, NJ 08204. This particular community consisted of beach

areas, a private lake, sports activities, tent sites, RV sites, cabins, eateries and other

accommodations.

        13.     Plaintiff was referred to interchangeably verbally and in employment

documentation by Defendant as a Supervisor, Manager or Guest Services Coordinator.

Whichever title suited Defendant best for representations to the public at varying times was used

to describe Plaintiff’s role(s).

        14.     However, Plaintiff was required to live on premises. And functionally, the

expectation was Plaintiff would and did in fact handle anything guest related, which included but

was not limited to, leasing, showings, questions, problems, directions, and many other tasks

associated with guests staying at the facilities or grounds.

        15.     The highest-level manager at the location wherein Plaintiff was employed was

one Todd Randle (“Randle”). Randle was identified on-line and publicly as Defendant’s

“Community Manager.”




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       16.     Plaintiff was at every stage of her employment a non-exempt employee (as to

overtime entitlement) under state and federal law(s), and Defendant characterized, treated, and

paid Plaintiff as a non-exempt employee.

       17.     Through her employment, Plaintiff was only paid on an hourly basis (typically

between $14 - $15 per hour depending upon time of employment). Defendant’s pay stubs and

itemizations specifically identified Plaintiff as an hourly employee, and her pay fluctuated with

hours worked throughout her tenure.

       18.     Although Plaintiff may have at times been referred to as a supervisor or manager

for outward presentation, she did not perform any typical management duties that could ever

qualify her for the FLSA “Executive Exemption.” Moreover, this exemption is only applicable to

salaried employees and those who spend more than 50% of their time performing customary

management duties along with supervising other employees. See 29 C.F.R. Part 541; see also 29

U.S.C. 213.

       19.     And as stated supra, Defendant never provided Plaintiff with any job description,

documentation, or other information that purported to claim any overtime exemption(s). Any

such assertion would be improper, implausible, and a malicious violation of state and federal

wage law(s).

       20.     Plaintiff was typically scheduled for 8.5-hour shifts by Defendant’s on-site

management. Attached hereto as “Exhibit A” is an illustration of a schedule that would be given

to Plaintiff identifying 40-hour workweeks for 1-month timeframes. The shifts scheduled

reflected general business hours.

       21.     Plaintiff’s regular payroll consisted of her being paid for approximately 40 hours

or right around 40 hours per week. But Plaintiff was not actually paid for all time worked, or for




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all overtime. In particular, the wage and overtime violations of Defendant included but were not

limited to:

              (1) Plaintiff had automatic breaks deducted from her daily work when in fact
                  Plaintiff often had to work through breaks (shorting Plaintiff at least 30
                  minutes per day);

              (2) Even in weeks when Plaintiff was scheduled for 5 days per week (for which
                  she was paid), Plaintiff would actually work up to 7 days per week (and not
                  get paid for the following matters). She had a two-way radio and was
                  consistently called for any issues before and after work hours, being on call
                  24/7. Staff, security or others would also continually call or knock on
                  Plaintiff’s residence for work-related issues before or after her scheduled
                  shifts. Solely by way of examples, attached hereto as “Exhibit B” are 2 reports
                  in back-to-back days for issues Plaintiff handled on day 1 at 12:30 AM and
                  day 2 at 11:40 PM (outside of her scheduled hours); and

              (3) Plaintiff was continually unable to properly punch in or out to be paid for
                  additional hours even when working, often due to having to close the office
                  while not having been scheduled for same.

       22.    In sum, Plaintiff was being paid for slightly under, approximately, or slightly over

40 hours per week in varying pay periods. But Plaintiff was not paid for improper auto-

deductions, on-call work, and additional time worked, as she was actually averaging 60 hours per

week of work. This took place primarily towards the end of Plaintiff’s period of employment

under Randle, who was overseeing her at the time.

       23.    As a result of the foregoing, Plaintiff is owed in excess of $20,000.00, inclusive of

liquidated damages. She is also entitled to legal fees and other damages for the failure to




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properly compensate her for an extended period of time and for corporate management’s refusal

to remedy the problem despite her complaints to Defendant’s corporate office. 1

                                                    Count I
                            Violations of the Fair Labor Standards Act ("FLSA")
                              (Failure to Pay Minimum Wages and Overtime)

            24.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

            25.      Plaintiff was not properly paid for all minimum wages and owed overtime as

explained supra. And such actions constitute indefensible violations of the Fair Labor Standards

Act (“FLSA”).

                                               COUNT II
                       Violations of New Jersey Wage and Hour Law (“NJ WHL”)
                             (Failure to Pay Minimum Wages and Overtime)
                                        -Against Both Defendants-

            26.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

            27.      Plaintiff was not properly paid for all minimum wages and owed overtime as

explained supra. And such actions constitute indefensible violations of the NJ WHL.

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    See e.g. Solis v. Min Fang Yang, 345 Fed. Appx. 35 (6th Cir. 2009)(Affirming award of liquidated damages explaining "under the Act,
    liquidated damages are compensation, not a penalty or punishment, and no special showing is necessary for the awarding of such
    damages. Rather, they are considered the norm and have even been referred to by this court as mandatory."); Gayle v. Harry's Nurses
    Registry, Inc., 594 Fed. Appx. 714, 718 (2d Cir. 2014)(Affirming award of liquidated damages explaining there is an automatic
    "presumption" of liquidated damages and "double damages are the norm, single damages the exception," as the burden to avoid
    liquidated damages is a "difficult burden."); Haro v. City of Los Angeles, 745 F.3d 1249 (9th Cir. 2014)(Affirming award of liquidated
    damages explaining they are the "norm" and "mandatory" unless the employer can establish the very "difficult burden" of subjective
    and objective attempts at FLSA compliance); Chao v. Barbeque Ventures, LLC, 547 F.3d 938, 942 (8th Cir. 2008)(Affirming award of
    liquidated damages explaining that the employer mistakenly argues its non-compliance was not willful, misunderstanding the high
    burden to show affirmative steps of attempted compliance and research of the FLSA and separately that its diligence and belief in non-
    payment of overtime was also objectively reasonable.); Chao v. Hotel Oasis, Inc., 493 F.3d 26 (1st Cir. 2007)(Affirming award of
    liquidated damages explaining that they will always be considered the "norm" in FLSA cases); Lockwood v. Prince George's County,
    2000 U.S. App. LEXIS 15302 (4th Cir. 2000)(Affirming award of liquidated damages explaining they are the "norm" and that an
    employer may not take an ostrich-like approach and refuse to research its obligations under the FLSA and to objectively explain why it
    failed to comply with the FLSA); Uphoff v. Elegant Bath, Ltd., 176 F.3d 399 (7th Cir. 1999)(Reversing the district court for not
    awarding liquidated damages, as doubling unpaid overtime is the rule, not an exception); Nero v. Industrial Molding Corp., 167 F.3d
    921 (5th Cir. 1999)(Affirming award of liquidated damages, as there is a presumption of entitlement to liquidated damages which are
    the norm).



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                                           Count III
                       Violations of the New Jersey Wage Payment Law
                                   (Failure to Wages Owed)

        28.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        29.     Defendants did not pay Plaintiff her full wage rate for hours worked during auto-

lunch breaks, for all hours worked, or for those hours worked over 40 hours per week.

        30.     Plaintiff was not properly paid for all owed wages as explained supra. And such

actions constitute indefensible violations of the New Jersey Wage Payment Law (N.J. Sta. §§

34:11-4, et. seq.).

        WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

        A.      Defendant is to promulgate and adhere to a policy prohibiting overtime and wage

violations;

        B.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendant’s wrongful actions, including but not limited to all owed wages, overtime, and other

applicable compensation;

        C.      Plaintiff is to be awarded actual damages to which she legally entitled beyond

those already specified herein;

        D.      Plaintiff is to be awarded liquidated damages as permitted by applicable law;

        E.      Plaintiff is to be accorded other equitable relief as the Court deems just, proper,

and appropriate;

        F.      Plaintiff is to be awarded the costs and expenses of this action and a reasonable

attorney’s fees if permitted by applicable law; and




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      G.     Plaintiff is permitted to have a trial by jury.

                                                     Respectfully submitted,

                                                     KARPF, KARPF & CERUTTI, P.C.


                                                     /s/ Timothy S. Seiler
                                                     Timothy S. Seiler, Esq.
                                                     3331 Street Road
                                                     Building 2, Suite 128
                                                     Bensalem, PA 19020
                                                     (215) 639-0801
Dated: August 29, 2019




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